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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK


DEANNA LETRAY,

                               Plaintiff,

                          v.

JEFFERSON COUNTY; CITY OF
WATERTOWN; COLLEEN O’NEILL, Jefferson                          20-CV-1194 (FJS)(TWD)
County Sheriff; KRISTOPHER M. SPENCER;
JOEL DETTMER; CHARLES DONOGHUE, City
of Watertown Police Chief; GEORGE
CUMMINGS; SAMUEL WHITE; DEBORAH
DAVIS and PATRICK LARKINS,

                               Defendants.


                               PROPOSED JURY INSTRUCTIONS

       Pursuant to this Court’s Final Pretrial Scheduling Order, ECF 122, the plaintiff submits

proposed jury instructions that are specific to the law in this case and any unusual issues. Where

appropriate, the plaintiff cites to the model instruction or case law from which the instruction

was adapted, or to the portion of this Court’s previous decision that stated the relevant law.




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                                               Duty of Jurors

        [Standard instruction regarding the duty of jurors, the duty to apply the law as the Court

gives it, and the duty to decide the case solely on the evidence before the jury.] Perform these

duties fairly and impartially. Do not allow personal likes or dislikes, sympathy, prejudice, fear,

or public opinion to influence you. You should also not be influenced by any person’s race,

color, religion, national ancestry, gender, gender identity, or sexual orientation.1




1
 Ninth Circuit, Model Jury Instructions 3.1; see also Peña-Rodriguez v. Colorado, 580 U.S. 206, 228- (2017);
Franco v. Gunsalus, No. 16-cv-634 (Scullin, J.), ECF 168 (Jury Instructions) at 2.


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                                             Police Witnesses2

        In this case you have heard testimony from a number of police officers. The testimony of

a witness should not be believed solely and simply because the witness is a police officer. At the

same time, a witness’s testimony should not be disbelieved solely and simply because the

witness is a police officer. You must evaluate a police officer’s testimony in the same way you

would evaluate the testimony of any other witness.




2
 New York Courts Final Jury Instructions, Credibility of Witnesses, available online at
https://www.nycourts.gov/judges/cji/5-SampleCharges/CJI2d.Final_Instructions.pdf; see also Franco v. Gunsalus,
No. 16-cv-634 (Scullin, J.), ECF 168 (Jury Instructions) at 7-8.


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                                            Expert Testimony3

        The rules of evidence ordinarily do not permit witnesses to testify as to opinions or

conclusions. There is an exception to this rule for “expert witnesses.” An expert witness is a

person who by education and experience has become expert in some art, science, profession, or

calling. Expert witnesses give their opinions as to matters in which they profess to be expert, and

may also state their reasons for their opinions. You should weigh and evaluate the testimony of

expert witness precisely as you weigh the testimony of any other witness.

        In this case, the expert witness claimed special qualifications in issues related to gender

identity, the treatment of gender dysphoria, and trauma. The expert who testified in this case did

so in order to assist you in reaching an independent decision concerning the matters about which

she testified.

        The way you consider this opinion testimony is the same as how you consider the

testimony of fact witnesses. In addition to all of the considerations that apply to ordinary

witnesses whose credibility you must determine, you may also consider an expert’s background,

training and qualifications; the reasons for their opinions and the reliability of the information

supporting those opinions.

        You may give the expert testimony whatever weight, if any, you find it deserves in light

of all the evidence in this case. You should not, however, permit an expert’s testimony to be a

substitute for your own reason, judgment, or common sense. You may reject the testimony of an

expert in whole or in part, if you conclude that the reasons given in support of an opinion are




3
 Modified from Federal Jury Practice § 104:40 and Modern Federal Jury Instructions § 76-10; see also Third Cir.
Gen. Instr. § 2.11.



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unsound or if, for other reasons, you do not believe the expert witness. The determination of the

facts in this case rests solely with you.

                                                 Multiple Defendants4

           There is more than one defendant in this action. It does not follow from that fact alone

that if one defendant is liable to the plaintiff, all defendants are liable; likewise, one defendant

may be liable even when another defendant is not. Each defendant is entitled to a fair

consideration of the evidence. Unless otherwise stated, all instructions I give you govern the case

as to each defendant.




4
    3 Fed. Jury Prac. & Instr. § 103:14 (6th ed.).


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                 New York State Civil Rights Law § 40-c Discrimination Claim5

        Ms. LeTray has brought a claim against the defendants under New York State Civil

Rights Law section 40-c arguing that they discriminated against her based on her transgender

status. Civil Rights Law section 40-c states that:

                 No person shall, because of race, creed, color, national origin, sex, marital status,
                 sexual orientation, gender identity or expression, or disability . . . be subjected to
                 any discrimination in his or her civil rights, or to any harassment . . . in the
                 exercise thereof, by any other person or by any firm, corporation or institution, or
                 by the state or any agency or subdivision of the state.

        Discrimination exists when a transgender person is treated differently than other similarly

situated people who are not transgender, when they are treated differently because of animus

towards their transgender status, or when they are subjected to inferior treatment because of their

transgender status. Discrimination also includes classifying a transgender woman as man and

refusing to update a transgender woman’s government records to reflect her correct gender and

pronouns. Harassment includes making humiliating, abusive or threatening remarks, name-

calling, inappropriate physical contact, any other harassing contact, and refusing to use an

individual’s preferred name or pronouns.

        Here, Ms. LeTray argues that she was discriminated against and harassed when

Defendants called her a man after she told them she was a transgender woman; when they

mocked her gender identity; when they recorded her as “male” in all official paperwork; when

they forced her to remove her wig for her mugshot even though other women with synthetic hair

were permitted to have it on during a mugshot; when they physically assaulted her while ripping



5
  N.Y. Civ. Rights L. § 40-c; see also Wilson v. Phoenix House, 42 Misc. 3d 677 (Sup. Ct. 2013) (discrimination
includes classifying a transgender woman as a man); Doe v. City of New York, 42 Misc. 3d 502, 507 (Sup. Ct., 2013)
(discrimination includes refusing to update a transgender woman’s government records to reflect her correct gender
and pronouns); New York State Division of Human Rights, Guidance on Protections From GENDER IDENTITY
DISCRIMINATION Under the New York State Human Rights Law, 6 (Jan. 29, 2020),
https://dhr.ny.gov/system/files/documents/2022/04/nysdhr-genda-guidance-2020.pdf; S.J. Op. at 12-16.


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off her wig; and when they assigned a male officer to strip search her despite her request to be

searched by a woman as other women are.




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                                 Civil Actions Under 42 U.S.C. § 19836

          The rest of Ms. LeTray’s claims in this case are brought under the federal civil rights law,

42 U.S.C. § 1983, which provides a remedy for people who have been deprived of their

constitutional rights under color of state law. Section 1983 of Title 42 of the United States Code

states:

          Every person who, under color of any statute, ordinance, regulation, custom or usage of
          any State or Territory or the District of Columbia, subjects or causes to be subjected, any
          citizen of the United States or other person within the jurisdiction thereof to the deprivation
          of any rights, privileges or immunities secured by the Constitution and laws, shall be liable
          to the party injured in an action at law, suit in equity, or other proper proceeding for redress.

Section 1983 creates a form of liability when people have been deprived of rights, privileges and

immunities secured to them by the United States Constitution and federal statutes.




6
 John S. Siffert et al., Modern Federal Jury Instructions, Civil, Forms 87-65, 87-66, Matthew Bender & Company,
Inc. (1993) (citing Lugar v. Edmondson Oil Co., 457 U.S. 922 (1982)).


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                                    Elements of a Section 1983 Claim7

        To establish a claim under section 1983, the plaintiff must establish, by a preponderance

of the evidence, each of the following three elements:

        1. that the conduct complained of was committed by a person acting under color of state

             law;

        2. that this conduct deprived Ms. LeTray of a secured by the Constitution or laws of the

             United States; and

        3. that the defendants’ acts were the proximate cause of the injuries and consequent

             damages sustained by Ms. LeTray.

I will now explain each of the three elements in greater detail.




7
 John S. Siffert et al., Modern Federal Jury Instructions, Civil, Form 87-68, Matthew Bender & Company, Inc.
(1993) (citing Parratt v. Taylor, 451 U.S. 527 (1981); Eagleston v. Guido, 41 F.3d 865 (2nd Cir. 1994)); Franco v.
Gunsalus, No. 16-cv-634 (Scullin, J.), ECF 168 (Jury Instructions) at 10-11.


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            Section 1983 Claims: First Element—Action Under Color of State Law8

        The first element of the plaintiff’s section 1983 claims is that the defendants acted under

color of state law. This element is not at issue because there is no dispute that the defendants

were all acting under color of state law. Therefore, I instruct you that the first statutory

requirement is satisfied.




8
 John S. Siffert et al., Modern Federal Jury Instructions, Civil, Form 87-60, Matthew Bender & Company, Inc.
(1993) (citing Am. Manufacturers Mut. Ins. Co. v. Sullivan, 526 U.S. 40 (1999)).


                                                       10
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                  Section 1983 Claims: Second Element—Deprivation of Right9

        The second element of Ms. LeTray’s section 1983 claims is that she was deprived of a

federal right by the Individual or Municipal Defendants. Here, Ms. LeTray brings five different

section 1983 claims based on the deprivation of four different rights:

        1. Her right under the Fourteenth Amendment to be free from discrimination that

             violates the Equal Protection Clause. Specifically, she alleges that Defendants

             Cummings, White, Dettmer, Donoghue, O’Neill, and Spencer discriminated against

             her because she is transgender.

        2. Her right under the Fourth Amendment to be free from an unreasonable manual body

             cavity search. Specifically, she alleges that while she was in the custody of the

             Jefferson County Sheriff, Defendant Dettmer subjected her to an unreasonable

             manual body cavity search by inserting his finger into her rectum without reasonable

             suspicion.

        3. Her right under the Fourth and Fourteenth Amendments to be free from sexual

             assault. Specifically, she alleges that while she was in the custody of the Jefferson

             County Sheriff, Defendant Dettmer sexually assaulted her by inserting his finger into

             her rectum and touching her genitals.

        4. The failure of certain defendants to intervene to protect her from the violations

             described above. Specifically, she alleges that Defendants Cummings, Larkins, and

             Davis failed to intervene when Defendant Dettmer was violating her rights at the

             Jefferson County Jail.

        5. Her right under the Fourth Amendment to be free from an excessive use of force.


9
 John S. Siffert et al., Modern Federal Jury Instructions, Civil, Form 87-74[3], Matthew Bender & Company, Inc.
(1993) (citing Conn v. Gabbert, 526 U.S. 286 (1999)).


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     Specifically, she alleges that during her time in the custody of the Watertown Police

     Department, Defendants Cummings and White used excessive force on her, and that

     during her time in the custody of the Jefferson County Sheriff, Defendant Dettmer

     used excessive force on her.

  I will explain each of these claims more specifically below.




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     Section 1983 Claim 1: Fourteenth Amendment—EQUAL PROTECTION CLAUSE
                                        CLAIM
         Ms. LeTray claims that Defendants violated her right to equal protection under the law by

discriminating against her based on her transgender status. The Equal Protection Clause of the

United States Constitution prohibits government actors from discriminating on the basis of

gender identity unless they have “an exceedingly persuasive justification.”

         Discrimination exists when a transgender person is treated differently than other similarly

situated people who are not transgender, or when they are treated differently because of animus

towards their transgender status. Here, if you find that any of the defendants discriminated

against Ms. LeTray as described above, I instruct you that Defendants did not have an

“exceedingly persuasive justification” for that discrimination.10




10
  S.J. Op. at 12-16; see also Phillips v. Girdich, 408 F.3d 124, 129 (2d Cir. 2005); J.E.B. v. Ala. ex rel. T.B., 511
U.S. 127, 130-31 (1994); Pyke v. Cuomo, 258 F.3d 107, 109 (2d Cir. 2001); United States v. Virginia, 518 U.S. 515,
555 (1996); Bostock v. Clayton Cnty., Georgia, 590 U.S. 644 (2020).


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     Section 1983 Claim 2: Fourth Amendment—UNREASONABLE MANUAL BODY
                                   CAVITY SEARCH
        Ms. LeTray claims that Defendant Dettmer violated her rights by subjecting her to an

unreasonable manual body cavity search. The Fourth Amendment of the United States

Constitution prohibits corrections officers from engaging in an unreasonable search. A search is

unreasonable if it is unrelated to any legitimate penological goal or if it is designed to intimidate,

harass, or punish a person.

        When determining whether a search is unreasonable, you may consider: (1) the scope of

the intrusion; (2) the way the search was conducted; (3) the justification for commencing the

search; and (4) the place the search was conducted. In order to justify a body cavity search, an

officer must have reasonable suspicion to believe that the person being searched is secreting

evidence inside of the body cavity to be searched. In addition, if a search is performed in

violation of a jail’s own policies and is not based on reasonable suspicion, it is unreasonable.

        Here, Ms. LeTray argues that Defendant Dettmer conducted an unreasonable manual

body cavity search in contravention of Jefferson County policy and without reasonable

suspicion.11




11
  Harris v. Miller, 818 F.3d 49, 57 (2d Cir. 2016); Jean-Laurent v. Wilkinson, 540 F. Supp.2d 501, 512 (S.D.N.Y.
2008), aff'd sub. nom., 461 F. App'x 18 (2d Cir. 2012) (summary order); Murphy v. Hughson, 82 F.4th 177, 186 (2d
Cir 2023); Sloley v. VanBramer, 945 F.3d 30, 39 (2d Cir. 2019).


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     Section 1983 Claim 3: Fourth and Fourteenth Amendment—SEXUAL ASSAULT

        Ms. LeTray claims that Defendant Dettmer violated her rights by subjecting her to sexual

assault. The Fourth and Fourteenth Amendments of the United States Constitution prohibit

corrections officers from sexually assaulting a person in their custody. In determining whether

conduct constituted sexual assault, you should consider whether the contact was incidental to

legitimate official duties, such as a justifiable pat frisk or strip search, or by contrast whether it

was undertaken to arouse or gratify the officer or humiliate the person in custody.

        Here, Ms. LeTray argues that Defendant Dettmer sexually assaulted her when he

intentionally touched her genitals and buttocks, and inserted his finger in her rectum, for no valid

purpose.12




 Poe v. Leonard, 282 F.3d 123, 136–37 (2d Cir. 2002); Graham v. Connor, 490 U.S. 386, 396, (1989); Crawford v.
12

Cuomo, 796 F.3d 252, 257 (2d Cir. 2015).


                                                     15
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                         Section 1983 Claim 4: FAILURE TO INTERVENE
        As we have just discussed, Ms. LeTray contends that Defendant Dettmer violated her

right to be free from discrimination, from unreasonable searches, and from sexual assault during

her time at the Jefferson County Correctional Facility. I have just explained the elements of those

claim. Ms. LeTray also contends that Defendants Cummings, Larkins, and Davis should be liable

for those violations because they failed to stop them from happening.

        I instruct you that officers have a duty to intervene to protect people in jail custody from

other officers who violate a person’s rights. You should only consider whether Defendants

Cummings, Larkin or Davis failed to intervene if you find that Defendant Dettmer violated Ms.

LeTray’s rights.

        To succeed on her claim for failing to intervene, Ms. LeTray must show that: (1) the

additional defendant officer had a realistic opportunity to intervene and prevent the harm; (2) a

reasonable person in the officer’s position would know that the Ms. LeTray’s constitutional

rights were being violated; and (3) the defendant did not take reasonable steps to intervene.13




13
  Jean-Laurent v. Wilkinson, 540 F. Supp. 2d 501, 512 (S.D.N.Y. 2008), aff’d sub. nom., 461 F. App'x 18 (2d Cir.
2012) (summary order).


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         Section 1983 Claim 5: Fourth Amendment—EXCESSIVE USE OF FORCE

        Ms. LeTray claims that Defendants violated her rights by subjecting her to excessive

force. The Fourth Amendment of the United States Constitution protects a person’s right not to

be subjected to unreasonable or unnecessary force by a police officer or corrections officers. In

determining whether a Defendant used unreasonable or unnecessary force, you must consider

whether the defendant used force that is objectively unreasonable in light of the facts and

circumstances confronting the officers. In other words, you must determine whether a Defendant

used more force than a reasonable and prudent officer would have used under similar

circumstances.

        When considering whether the force used was objectively unreasonable, you may

consider: (1) whether there was a need to use any force; (2) the relationship between the need

and the amount of force that was used; (3) the extent of Ms. LeTray’s injury; and (4) whether

force was applied in a good faith effort to maintain discipline or maliciously and sadistically for

the purpose of causing harm.

        Here, Ms. LeTray argues that she was subjected to excessive force by Defendants

Cummings and White while she was detained at the Watertown Police Station, and by Defendant

Dettmer at the Jefferson County Correctional Facility.14




14
  Burke v. Cicero Police Dep't, No. 07 Civ. 624 (FJS/DEP), 2011 WL 1232107, at *5 (N.D.N.Y. Mar. 30, 2011)
(Scullin, J.); Anderson v. Branen, 17 F.3d 552, 559–60 (2d Cir.1994); Figueroa v. Mazza, 825 F.3d 89, 105 (2d Cir.
2016).


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                     Section 1983 Claims: Third Element—Proximate Cause15

         The third element of Ms. LeTray’s Section 1983 claims is that the defendants’ acts were a

proximate cause of the injuries she sustained. Proximate cause means that there must be a

sufficient causal connection between the act or omission of a defendant and any injury or

damage sustained by the plaintiff. An act or omission is a proximate cause if it was a substantial

factor in bringing about or actually causing injury—that is, if the injury or damage was a

reasonably foreseeable consequence of the defendant's act or omission.

         A proximate cause need not always be the nearest cause either in time or in space. In

addition, there may be more than one proximate cause of an injury or damage. Many factors or

the conduct of two or more people may operate at the same time, either independently or

together, to cause an injury.




15
  John S. Siffert et al., Modern Federal Jury Instructions, Civil, Form 87-79, Matthew Bender & Company, Inc.
(1993) (citing Givhan v. W. Line Consol. Sch. Dist., 439 U.S. 410 (1979); Mt. Healthy City Sch. Dist. Bd. of Educ. v.
Doyle, 429 U.S. 274 (1977)).



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     Section 1983 Claims: Liability of Watertown or Jefferson County Based on Unlawful
                                     Practice or Custom16

         Ms. LeTray also brings claims against the Defendants City of Watertown and Jefferson

County (the “Municipal Defendants”) arguing that they are liable for the Equal Protection

violations committed by the Individual Defendants employed by them who engaged in

discrimination on the basis of her transgender status. To prevail on her claims based on an

unlawful practice or custom, Ms. LeTray must prove each of the following elements by a

preponderance of the evidence:

         1. That the Individual Defendants acted under color of state law, and, once again, I have

         instructed you that they did;

         2. That one or more of the Individual Defendants’ acts deprived the Plaintiff of her rights

         under the Equal Protection Clause to be free from discrimination as I previously

         explained to you;

         3. That the Individual Defendant acted pursuant to an official policy or a widespread or

         longstanding practice or custom of the relevant Municipal Defendant; and

         4. That the Municipal Defendant’s official policy or widespread or longstanding practice

         or custom caused the deprivation of Ms. LeTray’s rights as the moving force behind the

         constitutional violation.

         An official policy, practice or custom means any longstanding, widespread, or well-

settled practice or custom that constitutes a standard operating procedure of a municipal

defendant. Ms. LeTray does not need to prove that the practice or custom was formally approved



16
  SJ Order at 8; see also Matusick v. Erie Cnty. Water Auth., 739 F.3d 51, 82 (2d Cir. 2014), amended and
superseded on reh’g, 757 F.3d 31 (2d Cir. 2014) (“A municipality is liable under section 1983 only if the
deprivation of the plaintiff’s rights under federal law is caused by a governmental custom, policy, or usage of the
municipality.”); Connick v. Thompson, 563 U.S. 51, 60 (2011).


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by the City or County’s official decision-making channels. Whether an official practice or

custom exists is a question of fact for you to determine.

       Here, as to Watertown, Ms. LeTray argues that the Defendant City of Watertown's sex-

specific policing policies—created by Defendant Chief Donoghue—led officers to discriminate

against her as described above. As to Jefferson County, Ms. LeTray argues that the Defendant

Jefferson County’s sex-specific policies—created by Defendant Sheriff O’Neill and Jail

Administrator Spencer—led officers to discriminate against her as described above.




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         Section 1983 Claims: Liability of Watertown or Jefferson County Based on Failure
                                             to Train17

        Ms. LeTray also alleges that the Defendants City of Watertown and Jefferson County (the

“Municipal Defendants”) are liable based on their official policies and practices of failing to train

employees so as to prevent violations of the law. To prevail on against either Municipal

Defendant on a “failure to train” claim, she must prove each of the following elements by a

preponderance of the evidence:

        1. That the Individual Defendants acted under color of state law, and, once again, I have

        instructed you that they did;

        2. That one or more of the Individual Defendants’ acts deprived the Plaintiff of her rights

        under the Equal Protection Clause to be free from discrimination as I previously

        explained to you;

        3. That the training policies of the relevant Municipal Defendant were not adequate to

        prevent violations of law by employees;

        4. That the relevant Municipal Defendant was deliberately indifferent to the substantial

        risk that its training policies were inadequate to prevent violations of law by its

        employees; and

        5. That the failure of the relevant Municipal Defendant to prevent violations of law by its

        employees by failing to provide adequate training caused the deprivation of Plaintiff’s

        rights—in other words, that the failure to train is so closely related to the deprivation of

        Plaintiff’s rights as to be the moving force that caused the ultimate injury.




17
  See e.g., Anthony v. City of New York, 339 F.3d 129, 140 (2d Cir. 2003); Connick v. Thompson, 563 U.S. 51, 61
(2011).


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       Here, Ms. LeTray argues as to Watertown that the Watertown Police Department’s

failure to conduct any trainings to instruct WPD officers on the rights and proper treatment of

transgender people caused her to be subjected to discrimination. As to Jefferson County, Ms.

LeTray argues that the Jefferson County Sheriff’s failure to provide any trainings for staff on the

treatment of transgender individuals caused Defendant Dettmer’s discriminatory treatment.




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    [standard instruction for actual/compensatory damages including lost wages]




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                                             Statutory Damages18

         If you find that any defendant violated the New York State Civil Rights Law section 40-

c, which I have discussed above, or if any defendant aided or incited such a violation, then Ms.

LeTray is entitled to statutory money damages based on the number of violations that you

identify. For each instance of unlawful discrimination, and for each instance of aiding or inciting

such discrimination, Ms. LeTray is entitled to an amount no less than $100 and no more than

$500 in statutory damages.

         In other words, if you find that any defendant has violated the New York State Civil

Rights Law or aided or incited its violation, you must identify and count each instance of

unlawful discrimination or unlawful aiding or inciting. You must then award an amount between

$100-$500 for each instance, then add those numbers up to for each defendant to calculate the

total amount of statutory damages to which Ms. LeTray is entitled.




18
   N.Y. Civ. Rights L. §§ 40-c, 40-d; see also Jews for Jesus, Inc. v. Jewish Cmty. Relations Council of New York,
Inc., 590 N.E.2d 228, 232 (1992) (“[T]he Civil Rights Law establishes a private cause of action to recover a
statutory penalty against those who violate these rights or who aid or incite such a violation.”); People by Abrams v.
Hamilton, 125 A.D.2d 1000, 1001 (4th Dept. 1986) (affirming “penalties on behalf of individual victims" of
discrimination “in accord with Civil Rights Law § 40–d”).


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                                   Exemplary or Punitive Damages19

        If you award Ms. LeTray actual damages, then you may also make her a separate and

additional award of exemplary or punitive damages. You may also make an award of punitive

damages even if you find that Ms. LeTray has failed to establish actual damages. Punitive

damages are awarded, in the discretion of the jury, to punish a defendant for extreme or

outrageous conduct, or to deter or prevent a defendant and others like them from committing

such conduct in the future.

        You may award punitive damages if you find that the acts or omissions of the Individual

Defendants were done maliciously or wantonly. An act or failure to act is maliciously done if it

is prompted by ill will or spite towards the injured person. An act or failure to act is wanton if

done in a reckless or callous disregard of, or indifference to, the rights of the injured person. The

plaintiff has the burden of proving, by a preponderance of the evidence, that a defendant acted

maliciously or wantonly with regard to the plaintiff’s rights.

        An intent to injure exists when a defendant has a conscious desire to violate rights of

which they are aware, or when a defendant has a conscious desire to injure a plaintiff in a

manner they know to be unlawful. A conscious desire to perform the physical acts that caused a

plaintiff’s injury, or to fail to undertake certain acts, does not by itself establish that a defendant

has a conscious desire to violate rights or injure the plaintiff unlawfully.

        If you find by a preponderance of the evidence that an Individual Defendant acted with

malicious intent to violate the plaintiff’s rights or unlawfully injure her, or if you find that an

Individual Defendant acted with a callous or reckless disregard of Ms. LeTray’s rights, then you


19
  John S. Siffert et al., Modern Federal Jury Instructions, Civil, Form 87-92, Matthew Bender & Company, Inc.
(1993) (citing Memphis Cmty. Sch. Dist. v. Stachura, 477 U.S. 299 (1986); Smith v. Wade, 461 U.S. 30 (1983); City
of Newport v. Fact Concerts, Inc., 453 U.S. 247 (1981); Carlson v. Green, 446 U.S. 14 (1980); Carey v. Piphus, 435
U.S. 247 (1978)).


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may award punitive damages against that Defendant. An award of punitive damages, however, is

discretionary; that is, if you find that the legal requirements for punitive damages are satisfied,

then you may decide to award punitive damages, or you may decide not to award them.

       In making this decision, you should consider the underlying purpose of punitive damages.

Punitive damages are awarded in the jury’s discretion to punish a defendant for outrageous

conduct or to deter them and others like them from performing similar conduct in the future.

Thus, in deciding whether to award punitive damages, you should consider whether the

defendant may be adequately punished by an award of actual damages only, or whether the

conduct is so extreme and outrageous that actual damages are inadequate to punish the wrongful

conduct. You should also consider whether actual damages standing alone are likely to deter or

prevent this defendant from again performing any wrongful acts they may have performed, or

whether punitive damages are necessary to provide deterrence.

       Finally, you should consider whether punitive damages are likely to deter or prevent

other persons from performing wrongful acts similar to those the defendant may have committed.

If you decide to award punitive damages, these same purposes should be considered by you in

determining the appropriate sum of money to be awarded as punitive damages. That is, in fixing

the sum to be awarded, you should consider the degree to which the defendant should be

punished for their wrongful conduct, and the degree to which an award of one sum or another

will deter the defendant or persons like them from committing wrongful acts in the future. The

extent to which a particular sum of money will adequately punish a defendant, and the extent to

which a particular sum will adequately deter or prevent future misconduct, may depend upon the

financial resources of the defendant against which damages are awarded.




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Dated: June 10, 2024                Respectfully submitted,
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